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“UNITED STATES DISTRICT COURT MAY 992 01
SOUTHERN DISTRICT OF TEXAS
McALLEN DIVISION ‘Davi
David J. Bradiay, Clerk
UNITED STATES OF AMERICA
V. CRIMINAL NO. M-12-0191-S2
DANIEL NUNEZ

SEALED

also known as Lacra
also known as Comandante
also known as Padron

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RAFAEL FIGUEROA-VARGAS
also known as Rafa
JESUS ANTONIO GONZALEZ
JORGE LUGO MARTINEZ
ALBERTO GOMEZ
also known as Pajaro
also known as Bird
ALEJANDRO AMAYA
also known as Cabezon
JAMES PAUL WALKER
MIGUEL GONZALEZ
TERRY GRIFFIN
RICARDO ORTIZ
also known as Bastardo
SERAPIO CASTRO
also known as Chopper
* JOSE G. MORENO
also known as Bisco
RODOLFO CASTILLO
also known as Fito
JESUS JOSE JIMENEZ, JR.
#4 DELFINO GARCIA
also known as Boss
CLEOFAS ALBERTO MARTINEZ
GUTIERREZ
also known as El Guero
JUAN GREGORIO MENDOZA SAENZ
also known as Tejon __

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ROGELIO ORTIZ §
___ JUAN REYNALDO BENAVIDES. __ § i
° - §
SEALED SUPERSEDING INDICTMENT
THE GRAND JURY CHARGES: :
Count One
From on or about August, 2009 to on or about February 6, 2012 in the Southern District lL

of Texas and elsewhere within the jurisdiction of the Court, defendants,

DANIEL NUNEZ
also known as Lacra
also known as Comandante
also known as Padron

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also known as Secre
also known as Puerco
RAFAEL FIGUEROA-VARGAS
also known as Rafa
JESUS ANTONIO GONZALEZ
JORGE LUGO MARTINEZ
ALBERTO GOMEZ
also known as Pajaro
also known as Bird
ALEJANDRO AMAYA
also known as Cabezon
JAMES PAUL WALKER
MIGUEL GONZALEZ
TERRY GRIFFIN
RICARDO ORTIZ
also known as Bastardo
SERAPIO CASTRO
also known as Chopper
JOSE G. MORENO
also known as Bisco
RODOLFO CASTILLO
also known as Fito
_ JESUS JOSE JIMENEZ, JR.
DELFINO GARCIA
also known as Boss
CLEOFAS ALBERTO MARTINEZ GUTIERREZ
also known as E] Guero

 

 
 

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JUAN GREGORIO MENDOZA SAENZ
also known as Tejon

 

also known as Mundo
ROGELIO ORTIZ
and — ‘

 

did knowingly and intentionally conspire and agree together and with other person or persons known
and unknown to the Grand Jurors to knowingly and intentionally possess with intent to distribute a
controlled substance. The controlled substance involved was more than 1,000 kilograms of a
mixture or substance containing a detectable amount of marijuana, a Schedule 1 controlled substance,
in violation of Title 21, United States Code, Sections 846, 841(a)(1}, and 841(b)(1)(A).
Count Two

From on or about August 2009 until or on about February 6, 2012 in the Southern District

of Texas and elsewhere within the jurisdiction of the Court, defendants,

DANIEL NUNEZ
also known as Lacra
also known as Comandante
also known as Padron
CLEOFAS ALBERTO MARTINEZ GUTIERREZ
also known as El Guero
and
JUAN REYNALDO BENAVIDES

did knowingly conspire and agree together and with other persons known and unknown to the Grand
‘Jurors to transport, transmit and transfer and attempt to transport, transmit and transfer monetary
instruments and funds from a place in the United States to a place outside the United States with the
intent to promote the carrying on of specified unlawful activity, that is the distribution ofa controlled

substance,

In violation of Title 18, United States Code, Sections 1956(a)(2)(A) and (h).

 

 
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Count Three
On or about August 12, 2009, in the Southern District of Texas and elsewhere within the

jurisdiction of the Court, defendants,
DANIEL NUNEZ
also known as Lacra
also known as Comandante
also known as Padron

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CLEOFAS ALBERTO MARTINEZ GUTIERREZ
also known as El Guero
JUAN GREGORIO MENDOZA SAENZ
also known as Tejon
___and

i
did knowingly and intentionally possess with intent to distribute a controlled substance. The
controlled substance involved was more than 100 kilograms, that is, approximately 314 kilograms
of a mixture or substance containing a detectable amount of marijuana, a Schedule I controlled
substance.
In violation of Title 21, United States Code, Sections 841{a)(1) and 841(b)(1)(B), and Title
18, United States Code, Section 2.
Count Four
Beginning on or about October 23, 2009 and continuing until on about October 30, 2009 in
the Southern District of Texas and elsewhere within the jurisdiction of the Court, defendants,
DANIEL NUNEZ
also known as Lacra
also known as Comandante
also known as Padron
CLEOFAS ALBERTO MARTINEZ GUTIERREZ

also known as El Guero

and
JUAN REYNALDO BENAVIDES
 

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did attempt to transport monetary funds, that is approximately $356,650.00 in United States
currency, from a place in the United States, that is Florida, to a place outside the United States, that
is Mexico, with the intent to promote the carrying on of specified unlawful activity, that is the

distribution of 2 controlled substance,

In violation of Title 18, United States Code, Sections 1956(a)(2)(A) and 2.

Count Five

On or about May 17, 2011 in the Southern District of Texas and elsewhere within the

jurisdiction of the Court, defendants,

DANIEL NUNEZ
also known as Lacra
also known as Comandante
also known as Padron

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RAFAEL FIGUEROA-VARGAS
also known as Rafa
MIGUEL GONZALEZ
. and
CLEOFAS ALBERTO MARTINEZ GUTIERREZ
‘ also known as El Guero

did knowingly and intentionally possess with intent to distribute a controlled substance. The
controlled substance involved was more than 100 kilograms, that is, approximately 497.5 kilograms

of a mixture or substance containing a detectable amount of marijuana, a Schedule | controlled

substance.
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In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(B), and Title

18, United States Code, Section 2.
Count Six

On or about June 22, 2011 in the Souther District of Texas and elsewhere within the

jurisdiction of the Court, defendants,

DANIEL NUNEZ
also known as Lacra
also known as Comandante
also known as Padron .
CLEOFAS ALBERTO MARTINEZ GUTIERREZ,
~ also known as El Guero:
JUAN GREGORIO MENDOZA SAENZ,
. also known as Tejon
and

did knowingly and intentionally possess with intent to distribute a controlled substance. The
controlied substance involved was more than 100 kilograms, that is, approximately 409.5 kilograms
of a mixture or substance containing a detectable amount of marijuana, a Schedule I controlled

substance.

In violation of Title 21, United States Code, Sections 841(a){1) and 841(b)(1)(B), and Title

18, United States Code, Section 2.
Count Seven

From on or about August 28, 2011 until on or about August 29, 2011 in the Southém

District of Texas and elsewhere within the jurisdiction of the Court, defendants,

DANIEL NUNEZ
also known as Lacra
also known as Comandante
also known as Padron

 
 

 

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ALBERTO GOMEZ
also known as Pajaro
also known as Bird
RICARDO ORTIZ
also known as Bastardo
and .
CLEOFAS ALBERTO MARTINEZ GUTIERREZ
also known as El Guero

did knowingly and intentionally possess with intent to distribute’a controlled substance. The
controlled substance involved was more than 1,000 kilograms, that is, approximately 1,272

kilograms of a mixture or substance containing a detectable amount of marijuana, a Schedule |

controlled substance.

In violation of Title 21, United States Code, Sections 841(a)(1} and 841(b)(1){A), and Title

18, United States Code, Section 2.

Count Eight

On or about October 22, 2011, in the Southern District of Texas, and within the

jurisdiction of the court, defendants,

DANIEL NUNEZ
also known as Lacra
also known as Comandante
also known as Padron
JORGE LUGO MARTINEZ
ALBERTO GOMEZ
also known as Pajaro
also known as Bird
TERRY GRIFFIN
RICARDO ORTIZ
also known as Bastardo
SERAPIO CASTRO
also known as Chopper
CLEOFAS ALBERTO MARTINEZ GUTIERREZ
also known as El Guero

 

 
 

 

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and
ROGELIO ORTIZ

did knowingly and intentionally possess with intent to distribute a controlled substance. The
controlled substance involved was more than 1,000 kilograms, that is, approximately 1,181
kilograms of a mixture or substance containing a detectable amount of marijuana, a Schedule I

controlled substance.

In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(A), and Title

18, United States Code, Section 2.
Count Nine

From on or about February 4, 2012 to on or about February 6, 2012, in the Southern

District of Texas, and within the jurisdiction of the court, defendants,

DANIEL NUNEZ
also known as Lacra
also known as Comandante
also known as Padron
JESUS ANTONIO GONZALEZ
JORGE LUGO MARTINEZ
ALBERTO GOMEZ
also known as Pajaro
also known as Bird
ALEJANDRO AMAYA
also-known as Cabezon
JAMES PAUL WALKER
JOSE G. MORENO
also known as Bisco
RODOLFO CASTILLO
also known as Fito
and
CLEOFAS ALBERTO MARTINEZ GUTIERREZ
also known as E] Guero
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did knowingly and intentionally possess with intent to distribute a controlled substance. The
controlled’ substance involved was more than 1,000 kilograms, that is, approximately 1,243
kilograms of a mixture or substance containing a detectable amount of marijuana, a Schedule I

controlled substance.

In violation of Title 21, United States Code, Sections $41(a)(1) and 841(b)(1)(A), and Title

18, United States Code, Section 2.
Count Ten

On or about February 5, 2012, in the Southern District of Texas, and within the jurisdiction

of the court, defendants,

DANIEL NUNEZ
also known Lacra
also known as Comandante
also known as Padron
JESUS JOSE JIMENEZ, JR.

DELFINO GARCIA

also known as Boss

and

CLEOFAS ALBERTO MARTINEZ GUTIERREZ
also known as El Guero

did knowingly and intentionally possess with intent to distribute a controlled substance. The
controlled substance involved was more than 1,000 kilograms, that is, approximately 1,263
kilograms of a mixture or substance containing a detectable amount of marijuana, a Schedule I

controlled substance.

In violation of Title 21, United States Code, Sections 841 (a)(1} and 841(b)(1)(A), and Title

18, United States Code, Section 2.

 
 

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NOTICE OF FORFEITURE

As a result of the foregoing violations of Title 21, United States Code, Sections 841(a)

and 846, defendant,
DANIEL NUNEZ
also known Lacra
also known as Comandante
also known as Padron

shall, pursuant to Title 21, United States Code, Section 853(a), forfeit to the United States all of

his interest in all property constituting or derived from any proceeds the defendants obtained either
directly or indirectly from said violations as well as all of their interest in all property used or
intended to be used in any manner to commit or facilitate the commission of said violations,

including but not limited to:
A.

The south 227.37 feet of the north 711.81 feet of Lot 7, block 42, Missouri-Texas Land and
Irrigation Company Subdivision, Hidalgo County, Texas. According to map thereof recorded in

Volume | , Page 29, map records of Hidalgo County, Texas.
B.

A 7.00 acre tract of land more or less, being south 231.0 feet of the north 484.44 feet of Lot
7, Block 42, Missouri-Texas Land and Irrigation Company Subdivision, Hidalgo County, Texas.
According to the map recorded in Volume 1, Page 29, map records in the Office of the County Clerk
of Hidalgo County, Texas.

Cc.

The south 11.0 acres of Lot 150, Delta Orchards Company Unit 2, Hidalgo County, Texas,

 
 

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according to the map thereof recorded in Volume 6, Page 33, map records in the Office of the
County Clerk of Hidalgo County, Texas.

If any property subject to forfeiture by Title 21, United States Code, Section 853(a), as a
result of any act or omission of any defendant:

(1) cannot be located upon the exercise of due diligence;

(2) has been transferred or sold to a third person or entity;

(3) has been placed beyond the jurisdiction of the Court;

(4) has been substantially diminished in value; or

(5) has been commingled with other property which cannot be subdivided without

difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), to seek
the forfeiture of any and ali other property of said defendants as substitute assets for the property

whose forfeiture has been impeded for reasons (1), (2), (3), (4), or (5) described above.

As a result of the foregoing violations of Title 18, United States Code, Section 1956,

defendant,

DANIEL NUNEZ
also known Lacra
also known as Comandante
also known as Padron

shall, pursuant to Title 18, United States Code, Section 982(a)(1), forfeit to the United States all of

his interest in all property involved in or traceable to such offense, including but not limited to:
A.

The south 227.37 feet of the north 711.81 feet of Lot 7, block 42, Missouri-Texas Land and
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Irrigation Company Subdivision, Hidalgo County, Texas. According to map thereof recorded in

Volume | , Page 29, map records of Hidalgo County, Texas.
B.

A 7.00 acre tract of land more or less, being south 231.0 feet of the north 484.44 feet of Lot
7, Block 42, Missouri-Texas Land and Irrigation Company Subdivision, Hidalgo County, Texas.
According to the map recorded in Volume 1, Page 29, map records in the Office of the County Clerk

of Hidalgo County, Texas.
Cc.

The south 11.0 acres of Lot 150, Delta Orchards Company Unit 2, Hidalgo County, Texas,
according to the map thereof recorded in Volume 6, Page 33, map records in the Office of the

County Clerk of Hidalgo County, Texas.

If any property subject to forfeiture by Title 18, United States Code, Section 982 (a)(1), as

a result of any act or omission of any defendant:
(1) cannot be located upon the exercise of due diligence;
(2) has been transferred or sold to a third person or entity;
(3) has been placed beyond the jurisdiction of the Court;
(4) has been substantially diminished in value; or

(5) has been commingled with other property which cannot be subdivided without

difficulty;

it is the intent of the United States, pursuant to Title 18, United States Code, Section 982(b)(1), to
seek the forfeiture of any and all other property of said defendants including any property charged

above and determined not be subject to forfeiture by 18 United States Cade, Section 982(a)(1), as

 
 

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substitute assets for the property whose forfeiture has been impeded for reasons (1), (2), (3), (4) or

(5) described above.

As a result of the foregoing violations of Title 21, United States Code, Sections 841(a) and 846,
defendants,

DANIEL NUNEZ
also known Lacra
also known as Comandante
also known as Padron
SERAPIO CASTRO
also known as Chopper

shall, pursuant to Title 21, United States Code, Section 853(a), forfeit to the United States all of

his interest in all property constituting or derived from any proceeds the defendants obtained either
directly or indirectly from said violations as well as all of their interest in all property used or
intended to be used in any manner to commit or facilitate the commission of said violations,

including but not limited to:
A.

Lot(s) 7, Lantana Acres, as shown by the map or plat thereof, recorded in Volume 33, Pages
191, and 192 of the map records of Hidalgo County, Texas. Subject to: Easement and Right of Way

04/21/2003 2007-1835659.

If any property subject to forfeiture by Title 21, United States Code, Section 853(a), as a result of

any act or omission of any defendant:
(1) cannot be located upon the exercise of due diligence;
(2) __ has been transferred or sold to a third person or entity;

(3) has been placed beyond the jurisdiction of the Court;

 

 
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(4) has been substantially diminished in value; or

(5) has been commingled with other property ‘which cannot be subdivided without

difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), to seek
the forfeiture of any and all other property of said defendants as substitute assets for the property

whose forfeiture has been impeded for reasons (1), (2), (3), (4), or (5S) described above.

As a result of the foregoing violations of Title 21, United States Code, Sections 841(a)
and 846, defendants,

DANIEL NUNEZ
also known Lacra
also known as Comandante
also known as Padron
- ALEJANDRO AMAYA’”
~ also known as Cabezon:... .

shall, pursuant to Title 21, United States Code, Section 853(a), forfeit to the United States all of

his interest in al! property constituting or derived from any proceeds the defendants obtained either
directly or indirectly from said violations as well as all of their interest in all property used or
intended to be used in any manner to commit or facilitate the commission of said violations,

including but not limited to:
A,

Lot(s)8, Lantana Acres, as shown by the map or plat thereof, recorded in Volume 33, Pages

191, and 192 of the map records of Hidalgo County, Texas.

If any property subject to forfeiture by Title 21, United States Code, Section 853(a), as a

result of any act or omission of any defendant:

{1) cannot be located upon the exercise of due diligence;
 

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(2) has been transferred or sold to a third person or entity;
(3) has been placed beyond the jurisdiction of the Court;
(4) has been substantially diminished in value; or

(5) has been commingled with other property which cannot be subdivided without
difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), to seek
the forfeiture of any and all other property of said defendants as substitute assets for the property

whose forfeiture has been impeded for reasons (1), (2), (3), (4), or (5) described above.

As a result of the foregoing violations of Title 21, United States Code Sections 841(a) and

846, defendants,

DANIEL NUNEZ
also known as Lacra
also known as Comandante
also known as Padron

RAFAEL FIGUEROA-VARGAS
also known as Rafa
JESUS ANTONIO GONZALEZ
JORGE LUGO MARTINEZ
ALBERTO GOMEZ
also known as Pajaro
also known as Bird
ALEJANDRO AMAYA
also known as Cabezon
JAMES PAUL WALKER
MIGUEL GONZALEZ,
TERRY GRIFFIN
RICARDO ORTIZ
also known as Bastardo

 

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SERAPIO CASTRO
also known as Chopper
JOSE G, MORENO
_ also known as Bisco
-RODOLFO CASTILLO
also known as Fito
JESUS JOSE JIMENEZ, JR.
DELFINO GARCIA
also known as Boss
CLEOFAS ALBERTO MARTINEZ GUTIERREZ
_ alsoknownasEIlGuero |
JUAN GREGORIO MENDOZA SAENZ
_. also known as Tejon _

and
ROGELIO ORTIZ

shall, pursuant to Title 21, United States Code, Section 853(a), forfeit to the United States all of

their interest in all property constituting or derived from any proceeds the defendants obtained either
directly or indirectly from said violations as well as all of their interest in all property used or

intended to be used in any manner to commit or facilitate the commission of said violations.

If any property subject to forfeiture by Title 21, United States Code, Section 853(a), as a

result of any act or omission of any defendant:
(1) cannot be located upon the exercise of due diligence;
(2) has been transferred or sold to a third person or entity;
(3) has been placed beyond the jurisdiction of the Court;
(4) has been substantially diminished in value; or

(5) has been commingled with other property which cannot be subdivided without

difficulty;

 
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itis the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), to seek
the forfeiture of any and all other property of said defendants as substitute assets for the property

whose forfeiture has been impeded for reasons (1), (2), (3), (4), or (5) described above.

As a result of the foregoing violations of Title 18, United States Code, Section 1956,

defendants,

DANIEL NUNEZ
also known as Lacra
also known as Comandante
also known as Padron
CLEOFAS ALBERTO MARTINEZ GUTIERREZ
also known as E] Guero

and
JUAN REYNALDO BENAVIDES

shall, pursuant to Title 18, United States Code, Section 982(a)(1), forfeit to the United States all of
their interest in all property constituting or derived from any proceeds the defendants obtained either

directly or indirectly from said violations as well as all of their interest in all property used or

’ intended to be used in any manner to commit or facilitate the commission of said violations.

If any property subject to forfeiture by Title 18, United States Code, Section 982 (a)(1), as

a result of any act or omission of any defendant:
(1) cannot be located upon the exercise of due diligence;
(2) has been transferred or sold to a third person or entity;
(3) has been placed beyond the jurisdiction of the Court;
(4) has been substantially diminished in value; or

(5) has been commingled with other property which cannot be subdivided without

difficulty;

 
 

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it is the intent of the United States, pursuant to Title 18, United States Code, Section 982(b)(1), to
seek the forfeiture of any and all other property of said defendants including any property charged
above and determined not be subject to forfeiture by 18 United States Code, Section 982(a)(1), as

substitute assets for the property whose forfeiture has been impeded for reasons (1), (2), (3), (4) or

 

(5) described above.
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FOREPERSON a
KENNETH MAGIDSON
UNITED STATES ATTORNEY

ASSISTANT UNITED STATES ATTORNEY

 

 

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